          Case 1:19-cv-00487-SM Document 1-7 Filed 05/06/19 Page 1 of 7


                                       EXHIBIT F

Simon R. Brown,Esq.                                                    December 10'\ 2018
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PO Box 1318                                                            Paul Maravelias
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VIA E-MAIL AND FIRST-CLASS MAIL


       RE: New Hampshire Rules of Professional Conduct vis-a-vis
       Representation in Christina DePamphilis v. Paul Maravelias. etc.




Dear Attorney Brown:

    I write to remind you of certain New Hampshire Rules of Professional Conduct incumbent
upon you as a practicing attorney admitted to the New Hampshire Bar. At this point in time, it is
my intention solely to offer you a good-faith reminder ofthese rules and respectfully demand
your future compliance therewith.

    I reference the following rules:


       Rule 3.1. Meritorious Claims and Contentions
       A lawyer shall not bring or defend a proceeding, or assert or controvert an issue
       therein, unless there is a basis in law and fact for doing so that is not frivolous,
       which includes a good faith argument for an extension, modification or reversal of
       existing law. ...

       Rule 3.3. Candor Toward the Tribunal
       (a) A lawyer shall not knowingly:
         (1) make a false statement offact or law to a tribunal or fail to correct a false
          statement of material fact or law previously made to the tribunal by the lawyer;
         (2) fail to disclose to the tribunal legal authority in the controlling jurisdiction
          known to the lawyer to be directly adverse to the position of the client and not
          disclosed by opposing counsel; or
         (3) offer evidence that the lawyer knows to be false. If a lawyer, the lawyer's
          client, or a witness called by the lawyer, has offered material evidence and
          comes to know if its falsity, the lawyer shall take reasonable remedial
          measures, including, if necessary, disclosure to the tribunal. A lawyer may

                                                 1
   Case 1:19-cv-00487-SM Document 1-7 Filed 05/06/19 Page 2 of 7


                               EXHIBIT F
  refuse to offer evidence, other than the testimony ofa defendant in a criminal
  matter, that the lawyer reasonably believes is false.

Rule 3.4. Fairness to Opposing Party and Counsel
A lawyer shall not:
  (a) unlawfully obstruct another party's access to evidence or unlawfully alter,
   destroy or conceal a document or other material having potential evidentiary
   value, A lawyer shall not counsel or assist another person to do any such act;
  (b)falsify evidence, counsel or assist a witness to testify falsely, or offer an
  inducement to a witness that is prohibited by law;
  (c)knowingly disobey an obligation under the rules of a tribunal except for an
  open refusal based on an assertion that no valid obligation exists; ...
  (e)in trial, allude to any matter that the lawyer does not reasonably believe is
  relevant or that will not be supported by admissible evidence, assert personal
  knowledge offacts in issue except when testifying as a witness, or state a
  personal opinion as to the justness ofa cause, the credibility of a witness, the
  culpability of a civil litigant or the guilt or innocence of an accused;

Rule 4.1. Truthfulness in Statements to Others
In the course of representing a client a lawyer shall not knowingly:
   (a) make a false statement of material fact or law to a third person; or
   (b)fail to disclose a material fact to a third person when disclosure is necessary
   to avoid assisting a criminal or fraudulent act by a client, unless disclosure is
   prohibited by Rule 1.6.

2004 ABA Model Rule Comment
RULE 4.1 TRUTHFULNESS IN STATEMENTS TO OTHERS

Misrepresentation

[1] A lawyer is required to be truthful when dealing with others on a client's
behalf, but generally has no affirmative duty to inform an opposing party of
relevant facts. A misrepresentation can occur ifthe lawyer incorporates or affirms
a statement of another person that the lawyer knows is false. Misrepresentations
can also occur by partially true but misleading statements or omissions that are
the equivalent of affirmative false statements. For dishonest conduct that does not
amount to a false statement or for misrepresentations by a lawyer other than in the
course of representing a client, see Rule 8.4.

 Statements of Fact
            Case 1:19-cv-00487-SM Document 1-7 Filed 05/06/19 Page 3 of 7


                                         EXHIBIT F
         [2] This Rule refers to statements offact. Whether a particular statement should
         be regarded as one offact can depend on the circumstances. Under generally
         accepted conventions in negotiation, certain types of statements ordinarily are not
         taken as statements of material fact. Estimates of price or value placed on the
         subject of a transaction and a party's intentions as to an acceptable settlement of a
         claim are ordinarily in this category, and so is the existence of an undisclosed
         principal except where nondisclosure of the principal would constitute fraud.
         Lawyers should be mindful oftheir obligations under applicable law to avoid
         criminal and tortuous misrepresentation.

         Rule 8.4. Misconduct
         It is professional misconduct for a lawyer to:

            (a) violate or attempt to violate the Rules ofProfessional Conduct, knowingly
            assist or induce another to do so, or do so through the acts of another;...
            (c)engage in conduct involving dishonesty, fraud, deceit or misrepresentation;
            ... or

            (f) knowingly assist a judge or judicial officer in conduct that is a violation of
            applicable rules ofjudicial conduct or other law.




     With all due respect, some of your conduct in relation to these rules has been disturbing.
Since you are an intelligent person, I need not enumerate every single instance of your conduct
which would appear to violate these rules. Rather, I shall illuminate a few salient examples and
entrust the identification of similar acts to your imagination.

   A. Groundless. Robotic Demands for Attorney's Fees in Response to Lawful.
         Necessary, and Legitimate Adversarial Conduct


     The most recent manifestation ofimprofessional conduct, doubtlessly the sine qua non of
this letter, has been your predictable plea for punitive attorney's fees appended to nearly every
response to any and all pleadings I might enter into any ongoing case. This behavior has been
noted not only in the appellate cases, but also within the above-referenced Deny trial court case,
wherein I am not even the movant. but the defendant. My pleadings are completely legitimate
and necessitated by your client's bad-faith, falsification-fueled legal pursuit of me; accordingly,
such requests are baseless. As I remember,the first instance ofthis behavior traces back to your
April 2018 response to my necessary, legally meritorious, and indeed correct Motion to Dismiss
and Vacate Stalking Order, on which the incompetent laughing-joke-of-a-court in Deny never
ruled.
          Case 1:19-cv-00487-SM Document 1-7 Filed 05/06/19 Page 4 of 7


                                       EXHIBIT F
     Most recently, you rehearsed such a petty prayer at the end of your objection to my Motion
for Recusal and Reconsideration, likewise a necessary, valid motion containing high-quality
argumentation, supported by a potpourri of uncontested facts, necessary to preserve fairness and
integrity in these proceedings.

    You are aware that such requests for attorney's fees are valid in response solely to frivolous
conduct, not to weighty legal arguments necessary for the defense of my basic rights and
property. Given the tjrannical acts ofinjustice the rogue Judge Coughlin will evidently do to me
upon an unsupported accusation of"bad-faith" conduct, I interpret your routinely unsuccessful
prayers for undue fees in this case as coercive threats against my financial property. I refuse to
cower to such threats which have as their object that I should surrender my legal self-defense,
allowing your client to traduce my good name and assault my constitutional rights without
opposition.

     Abetting the pursuit of false, vindictive "stalking" restraining order litigation against an
innocent young man and then treating said defendant's attempts at legal self-defense as
automatic "fnvolous" behavior is gaslighting, not permissible attorney conduct. It is without any
legitimate purpose and is a continuation ofthe familiar gaslighting tactics waged against me by
your client. It differs from professional attorney conduct. In the latter, a lawyer focuses on
contesting the legal arguments proposed in the opponent's pleadings. If you disagree with my
reasoned legal arguments, I welcome you to challenge them in your responsive pleadings.

     By authority of Professional Conduct Rule 3.1, demand,thus,is made that you cease and
desist including such prayers for such relief in your pleadings, themselves fnvolous, unless made
in response to truly "fnvolous" conduct (e.g., conduct wherein the opposing party petitions the
Court to grant relieffor which there is no arguable basis in the lawV In contrast to frivolous
conduct, I exactingly cite the legal authorities by which I am entitled to the requested relief in all
my pleadings entered in either Court.



    B. Willful and/or Negligent Mischaracterizations of Fact

    Repeating your client's testimony favorable to your position and falsely representing the
record are distinct practices. Moreover, repeating assertions later proven by tangible evidence to
have been complete falsehoods constitutes misconduct for two separate reasons: 1) because the
underl)dng representation comes to be known by you to be false, and 2)because it abets in the
continued commission ofa crime (see RSA 641:1, 641:2, 641:3, and 173-B:3, IV.)

     As a generic warning. Rules 3.3, 3.4, and 4.1 prohibit you from composing shockingly
partisan, incomplete, and frequently outright-dishonest Statement of Facts sections, such as those
found in both of your opposing briefs in the two appellate cases. Nearly every sentence you have
          Case 1:19-cv-00487-SM Document 1-7 Filed 05/06/19 Page 5 of 7


                                        EXHIBIT F
written in such sections presents a fact which I directly contradict somewhere in the record,
though you persistently neglect to present the opposing testimony. You have even asserted
unsupported facts within the questions-presented and argument headings of your briefs. Worse,
at times, my contradictions have taken the form ofincontrovertible physical evidence seen and
understood by you. These examples would be the most likely to land you in hot water.

    In general, I would refer you to the following excerpt from A Guide to Appellate Advocacy
in New Hampshire(Lisa Wolford, Esq. & Stephanie Hausman, Esq., 2014):

       "It is not wise, however,to omit facts that are relevant but not helpful to your case,
       because your opponent will invariably expose the omission. Similarly, it will not
       help your case to mischaracterize or misstate the facts by presenting them in a manner
       that unfairly favors your case or unfairly disfavors your opponent's. To do so
       compromises your credibility before the Court."

    I offer a few specific examples, starting with the lie about your client's female child feeling
"scared" at a party at my house 5 years ago. Let us assurhe you believed the accusation from the
2016 stalking petition and had a reasonable good-faith belief that it was true. At the 5/3/18
Hearing, precisely at 1:25:48 in the recording (https://voutu.be/ErHhybEI 3w?t=5145). upon
your initial seeing my casual photograph from that same party, you witnessed the laughable
spectacle of how vastly contrary reality actually is compared to your client's delusional and/or
peijurious representations thereof.

     You made a smiling, laughing, tongue-in-cheek expression upon discovering yet another
indication of your clients' rabid falsity, as if such revelations have become frequent sources of
entertainment for you, doubtlessly similar to unseen reactions you must have had to the Turkey
Trot video, to my parents' letters revealing the exculpatory content of my audio recording, to
images of your client's female daughter's wild/licentious/intemperate behaviours, or to the June
2017 middle-fingers menagerie, inter alia. During cross, you attempted to twist my self-
defensive exposition of your client's perjury somehow to your advantage by insinuating I was
"secretly taking photos" of your then "12-year-old" client. But the record reflects I contradicted
this, stating,"Without her knowledge? I had the camera right there. She can see that I'm take -
snapping pictures around my[own summer family] party [at my house]."(T449)

    Despite knowing of the falsity ofthe underlying accusation, and despite knowing that the
photo was not "secret" or "surreptitious", you went ahead and called it just that on Page 9 of
your opposing brief.

     Similar characterizations repeating the now-documented perjury that I "approached"
David's female child at the 2013 Turkey Trot,"made her scared", and "wanted to walk with her'
are dangerous acts of misconduct for you, since you watched the video and observed the
incontrovertible proofof your clients' extreme falsity, in that instance even ten-times more
          Case 1:19-cv-00487-SM Document 1-7 Filed 05/06/19 Page 6 of 7


                                       EXHIBIT F
severe than the 2013 party lieJ Repeating the audio-recording-documented falsehood that
"Maravelias told her he would return when she was 18" on Page 10 of your brief, even when
your client admitted that I did not say those "direct" words(T95), and when I testified multiple
times to never saying this, is treading on thin ice.

     At times, your false representations offact wander into such territory ofindefensible
exaggeration or distance from even the words of your own client that you open yourself to civil
defamation liability beyond the scope ofthe Professional Rules of Conduct. Examples include
"recruited his sister"(Page 9), insinuating the heretofore-unseen delusion that there was
"mediation"(Page 10) between my parents and your client in 2016 after your client's female
child attended another party at my house, claiming-anew that there "had been no recent contact
[prior to 12/12/16]"(Page 10,see T276), attributing to me,baselessly, the attachment of"social
media posts" to a letter I did not write (Page 40), claiming that I"made or possessed recordings
of[David's female child] without her knowledge since she was 12 years old"(/c/.)(a reference to
my sister taking a video on her cell-phone of an outdoor sporting event), etc.

    This conduct does not reflect upon the integrity of your profession, nor the diligence
expected by the Bar Association of all its practicing attorneys. The misrepresentation-conduct
mentioned above is merely the tip of an iceberg that is doubtlessly violative ofthe rules I have
cited.

     You may in some cases retort, and it might possibly be, that honest human error caused
prejudicial misrepresentations which you objectively would have known were false, such as
inverting the temporal order of my 12/8/17 stalking petition against David DePamphilis and my
12/15/17 false, annulled arrest in the third paragraph of your 3/27/18 trial court pleading replying
to my objection, or telling the court first that you heard about my recording motion "five minutes
ago"(T6:9, in Maravelias v. DePamnhilisl. at "8:01am" that day(T12:9), then shortly thereafter
admitting that you were given telephonic notice the prior day(T12:11), where the timeliness of
notice was a material issue. Instances like these might actually concern honest human errors on
your part, although, combined with the larger portion of misrepresentation conduct which is
doubtlessly negligent and reckless, they are not helpful for you.


    C. Unhinged Inventions of Baseless Calumnies Not Even Alleged by Your Client

    As far as I can remember, your client's female child has never been my "family or
household member", nor my "current or former sexual or intimate partner"(thank God). I do not




^ You even claimed the video "depicted only the face of Maravelias's sister"(Page 10), when the
Supreme Court was given the video and can see for themselves that both the face of your client's
female child and myself appear in the video.
            Case 1:19-cv-00487-SM Document 1-7 Filed 05/06/19 Page 7 of 7


                                      EXHIBIT F
recall anyone ever accusing me of"abuse" or bringing an RSA 173-B Domestic Violence
restraining order petition against me.

     Despite this, you have persisted in libelous, patently unreasonable conduct, quoting RSA
173-B:5,1. on Page 41 of your opposing briefin a deceptive attempt to fool the Supreme Court
into equating putative acts of my third-party speech exposing your client's female child's
documented criminal, harassing, and bullying behavior against me with "abuse" of her. This
cowardly absurdism violates Professional Conduct Rules 3.1 and 3.3, and likely others. Your
misconduct is willful and reckless, as you had already libelously accused me of"abuse" in your
7/2/18 Motion to Criminalize Paul Maravelias Possessing a Computer Screenshot ofMy Client
Middle Fingering Him with Her 21 Year Old Boyfriend After She Lied About Having 'Fear'and
Got a False Stalking Order Against Him,and I had already corrected your, at best, groundless
legal error in my 7/5/18 objection(A164)by the time you renewed this libel months later on
11/21/18.

     Even the "abuse" antics and the estopped, self-contradicting "obsession" sophistries do not,
of course, exceed in severity of misconduct the good old "likely sexual assaulter" dirt from last
year- an accusation likewise alleged nowhere in the record even by your expert slanderer client,
nor by his female child. I will not forget Mr. Samdperil's outraged reaction to this pathetic
vituperation of yours against my august personal dignity. Indeed,two years have not elapsed
since this shameful act of unsupported misrepresentation somehow found its way into a legal
document bearing your signature, and, thus, bearing your entire professional reputation, itself in-
the-works for longer than I have been alive.




     When are you not straining compliance with these rules, it is a true pleasure to litigate with
you. I am a great admirer of your courtroom personality. I have reciprocated your(outside-of-
legal-content) interpersonal gentility far more than your hurtful slander would warrant. I imagine
you have been increasingly fhistrated throughout the course ofrepresenting David DePamphilis
and his female child in his legal pursuit of me. In fairness, your noticeable fmstration is quite
understandable, given their subsequent reckless behaviors and now-documented falsity, of which
you could have had little knowledge in Spring 2017.1 sympathize that they have made your job
quite difficult. I encourage you, however, not to permit this understandable, noticeable
fhistration of yours negatively affect the professionalism of your conduct.


                                                           Kind regards,
                                                           Paul J. Maravelias
